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             UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
                            RESPONSE – SIMILAR CASES



        Appeal No. & Caption: ___________________________________________________
                              No. 23-4451, United States v. Patrick Adamiak

        Please select the appropriate option below:

              I am not aware of any cases pending in the United States Court of Appeals for the
              Fourth Circuit or the Supreme Court of the United States raising issues similar to
              those raised by the instant case.

         ✔    I am aware of the following case(s) pending in the United States Court of Appeals
              for the Fourth Circuit or the Supreme Court of the United States raising issues
              similar to those raised by the instant case. (Please include a concise description of
              the similar issues):

               United States v. Matthew Hunt, No. 22-4525: Whether 18 U.S.C. 922(g)(1) as
               applied to the defendant violates the Second Amendment.




        Signature: _______________________
                   /s/ Jacqueline R. Bechara Counsel for: ____________________________
                                                          United States of America

        Date: ____________
              9/9/2024


              File using event: RESPONSE/ANSWER (to Similar Case notice)
